       Case 20-10303-amc        Doc 23 Filed 05/07/20 Entered 05/07/20 17:37:33               Desc Main
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                                UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF PENNSYLVANIA

       KERRY R SCOTT                                Chapter 13



                              Debtor                Bankruptcy No. 20-10303-AMC

                               OBJECTION OF CHAPTER 13 TRUSTEE
                             TO CONFIRMATION OF PLAN OF DEBTOR(S)

       AND NOW comes, WILLIAM C. MILLER, ESQUIRE, chapter 13 standing trustee, to object to
confirmation of the chapter 13 plan of debtor(s), because it fails to comply with 11 U.S.C. Sections 1322
and/or 1325 of the Bankruptcy Code, and/or debtor(s) has/have failed to provide information,
evidence, or corrections to the petition, schedules, statements or other documents filed by debtor(s) to
enable the standing trustee to evaluate the Plan for confirmation, as follows:

Debtor(s) has/have failed to file an accurate statement of current monthly income, and/or if the debtor(s)
has/have above-median income, an accurate calculation of disposable income in accordance with Section 1325
(b)(3), on Official Form 22C, as required by Bankruptcy Rule 1007(b)(6).
Debtor(s) has/have failed to provide required documentation as to income as directed at the meeting of creditors.
Debtor(s) has/have failed to file an amended plan as directed at the meeting of creditors.

       WHEREFORE, the standing trustee requests that the Court enter an order in the form annexed hereto
denying confirmation of the Plan.


                                                    Respectfully submitted,

                                                      /s/ William C. Miller
                                                    William C. Miller, Esquire
                                                    Chapter 13 Standing Trustee
